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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

STACY ERNST et al.                             )
                                               )      Case No. 08-C-4370
         Plaintiffs,                           )
                                               )      Judge Rebecca R. Pallmeyer
         v.                                    )
                                               )
CITY OF CHICAGO                                )
                                               )
         Defendant.                            )

                       AMENDED JUDGMENT ORDER RELATING TO
                              PLAINTIFF STACY ERNST

         Pursuant to and consistent with the Court’s Memorandum Order and Opinion dated

December 21, 2018, ECF No. 790, and the September 19, 2016 Order of the United States Court

of Appeals for the Seventh Circuit, and the further agreement of the Parties, the Court vacates the

Order of February 5, 2019, ECF No. 810, and enters judgment in favor of Stacy Ernst (“Ernst”)

and against the Defendant City of Chicago (“City”) on her claim of disparate impact and orders as

follows:

I.       Monetary Damages

         1.      The Court awards Ernst backpay damages for disparate impact discrimination

totaling $495,000, consisting of $378,884 in lost wages and $116,116 in prejudgment interest.


         2.      Within 60 days of the entry of this Order, the City shall pay to Ernst directly the

$378,884.00 in lost wages. The City shall withhold the employee-share of Medicare tax but shall

not withhold Social Security taxes. The City shall issue the appropriate W-2 for 2019 including

that Ernst is a participant in a City of Chicago Pension Fund so that neither she nor the City are

liable for Social Security tax.
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         3.      Within 60 days of the entry of this Order, the City shall pay Ernst’s prejudgment

interest award of $116,116.00 to the Ernst 468B Fund, which was created by court order on May

10, 2019. (Dkt. 844.) This payment of $116,116.00 in prejudgment interest will not have any

payroll taxes withheld.


         4.      Hughes Socol Piers Resnick & Dym Ltd. agrees to indemnify and hold harmless

the City for any interest, taxes or penalties assessed against it by any governmental agency as a

result of any nonpayment of taxes on amounts paid to the Ernst 468B Fund and received by Ernst.


II.      Terms of Instatement

         1.      For the reasons stated in the Court’s December 21, 2018 Order, the City is ordered

to instate Ernst as a Fire Paramedic in the Chicago Fire Department (“CFD”), with full retroactive

pay and full retroactive seniority for all purposes based on a hire date of April 1, 2005. The April

1, 2005 hire date shall apply for all purposes, including the issuance of seniority numbers; pay

rates; pension benefits; bidding for work assignments, furlough, and all other bidding purposes;

selection for promotions; the scoring of promotional exams; and insignia on uniforms. The April

1, 2005 hire date shall not apply in determining Ernst’s time-in-grade and time-in-title to be eligible

for promotion.


         2.      Ernst was instated as a CFD paramedic, joining the Paramedic Training Academy

on April 1, 2019. The following additional terms and conditions shall apply to the instatement of

Ernst.


         3.      CFD Paramedic Training Academy




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          (a)   Ernst shall have at least two opportunities to pass the Paramedic Training

                Academy, so long as she puts forth a good faith effort.


          (b)   If Ernst fails the Paramedic Training Academy on her first attempt, she will

                continue to maintain employment with CFD in a position that does not

                involve providing paramedic services as a CFD paramedic. If Ernst fails her

                first attempt in the Paramedic Training Academy, Ernst will participate in

                the next Paramedic Training Academy class the CFD convenes. While Ernst

                awaits her second opportunity to successfully complete Paramedic Training

                Academy, she will continue to earn pay, pension, and other benefits

                consistent with the terms of this Order. If Ernst fails the Paramedic Training

                Academy after two attempts, the Parties should request a hearing with the

                Court.


    4.    Retroactive Seniority as an Instated CFD Fire Paramedic


          (a)   The City shall instate Ernst with full retroactive seniority to April 1, 2005,

                for all purposes including the issuance of seniority numbers; pay rates;

                pension benefits; bidding for work assignments, furlough, and all other

                bidding purposes; selection for promotions; the scoring of promotional

                exams; and insignia on uniforms. The April 1, 2005 hire date shall not apply

                in determining Ernst’s time-in-grade and time-in-title to be eligible for

                promotion.


          (b)   Ernst shall not be treated as a probationary employee but rather, upon

                instatement, shall be entitled to the same protections as non-probationary

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                Fire Paramedics under the applicable collective bargaining agreement and

                the Chicago Municipal Code and shall, at her option, wear the uniform of a

                non-probationary Fire Paramedic.


    5.    Pay as an Instated CFD Fire Paramedic


          (a)   Ernst shall be paid using the base salary rate commensurate with her being

                hired as a Fire Paramedic (F1) on April 1, 2005, promoted to the position

                of Paramedic-in-Charge (F3a) as of September 1, 2008. Ernst’s base salary

                shall also include a Lost Chance Wage Premium reflecting the probability

                of promotion to Ambulance Commander (F5).


          (b)   The Lost Chance Wage Premium shall be 35% of the wage rate differential

                between the pay of an Ambulance Commander (F5) and that of a

                Paramedic-in-Charge (F3a) from instatement until June 30, 2020, and 45%

                of the wage differential between the pay of an Ambulance Commander (F5)

                and that of a Paramedic-in-Charge (F3a) from July 1, 2020, until the Lost

                Chance Wage Premium ends. The Lost Chance Wage Premium ends if

                Ernst fails to promptly apply for promotion to Paramedic-in-Charge or test

                for the promotion to Ambulance Commander when she qualifies, or when

                she is actually promoted to Ambulance Commander.


          (c)   Once Ernst has completed the Paramedic Training Academy and received

                her assignment, she shall apply for the Paramedic-in-Charge promotional

                opportunity as soon as she is eligible. She will be eligible to apply after

                nine months of employment as a CFD Fire Paramedic. If Ernst fails to

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                timely apply for promotion to Paramedic-in-Charge once she is eligible, her

                base pay shall then revert to the applicable rate for a Fire Paramedic hired

                on April 1, 2005. In addition, Ernst shall test for the first Ambulance

                Commander promotional opportunity for which she is eligible. She will be

                eligible to test for the promotion to Ambulance Commander if she is a

                Paramedic-in-Charge on the date CFD opens the applications for the

                Ambulance Commander promotion.            If Ernst fails to timely test for

                promotion to Ambulance Commander once she is eligible, her base pay

                shall then revert to the applicable rate for a Paramedic-in-Charge with a hire

                date of April 1, 2005. If Ernst fails to timely seek either promotion, she

                shall not owe funds back to the City for wages previously paid at a higher

                rate. Ernst shall also retain her full seniority, retroactive to April 1, 2005,

                even if she no longer qualifies for pay as a Paramedic-in-Charge or the

                Ambulance Commander Lost Chance Wage Premium.


          (d)   The City shall take all necessary steps to ensure that Ernst’s wages are

                properly calculated and paid as set forth above, including the Lost Chance

                Wage Premium, and are properly reported to the Fireman’s Annuity and

                Benefit Fund (“Fund”) for the purpose of making deposits to the Fund and

                the calculation of pension benefits.


    6.    Pension Benefits as an Instated CFD Paramedic


          (a)   Upon instatement, Ernst shall be enrolled as a participant in the Fund with

                all pension rights and benefits as if she had been hired on April 1, 2005,


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                      promoted to Paramedic-in-Charge on September 1, 2008, and has

                      pensionable wages as delineated in this Order, including the past and

                      ongoing Paramedic-in-Charge pay and Ambulance Commander Lost

                      Chance Wage Premium for as long as Ernst receives such additional pay.

                      Ernst shall have the full pension benefit of the Paramedic-in-Charge

                      promotional pay and Ambulance Commander Lost Chance Wage Premium,

                      unless her base pay reverts back as detailed in Paragraph II.5(c) above.


               (b)    The City shall make such payments to the Fund as the Fund may require to

                      ensure that Ernst receives the benefits described above within 60 days of

                      the later of: (i) the date that Ernst is instated; or (ii) the date that the Fund

                      confirms the amounts due and owing from the City. The City shall provide

                      Ernst’s counsel with the Fund’s calculations of the sums required within

                      fourteen (14) days of the Fund’s provision of this information to the City.

                      The City shall also provide Ernst’s counsel evidence of payments to the

                      Fund within twenty-one (21) days of payment.


III.   Final Judgment

       1.      This final order resolves Ernst’s claim of disparate impact against the City. Ernst

voluntarily dismisses her claim of disparate treatment against the City, with each side agreeing to

bear its own costs relating to that claim. Accordingly, Ernst’s claims of disparate impact and

disparate treatment are dismissed with prejudice. Ernst’s claim for attorneys’ fees, costs, and

expenses, which she has assigned to her counsel, is resolved by separate order.




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       2.      By agreement of the parties, the City’s motion to modify or amend the

Memorandum Opinion and Order, ECF No. 815, is hereby dismissed as moot. By agreement of

the parties, this final order is unappealable and resolves all claims asserted by Stacy Ernst.. Stacy

Ernst’s claim for attorney’s fees were already resolved by separate order.


       3.      The Court retains jurisdiction to enforce the terms of this final judgment order,

including the Terms of Instatement set forth in Section II.


                                                     ENTERED:




 Date: May 10, 2019
                                                     Judge Rebecca R. Pallmeyer




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